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 9   Attorneys for Plaintiffs
     Terrance J. Yeomans and Cindy Yeomans
10
11                           UNITED STATES DISTRICT COURT
12                          SOUTHERN DISTRICT OF CALIFORNIA
13
14   Terrance J. Yeomans and Cindy Yeomans,                         '21CV399
                                                         Case No.: [Case No.] MMA MDD
15                                     Plaintiffs,
                                                         COMPLAINT
16   v.
17   United States of America,
18                                    Defendant.

19
20         Plaintiffs, by and through their attorneys, Jeanne Anne Steffin and Thomas P.
21   Valet, respectfully allege upon information and belief, the following:
22
                                  JURISDICTION AND VENUE
23
24         1.     Jurisdiction for this action in the United States District Court arises under 28
25   U.S.C § 1346(b) and the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 2675(a), which
26
     provides that a tort claim which is administratively denied or not given administrative
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                                                     1
                                                                                          [Case No.]
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 1   disposition within 6 months of the filing of the claim may be presented to a Federal
 2
     District Court for judicial consideration.
 3
           2.     Venue is based upon 28 U.S.C. 1402(b) in that the acts or omissions
 4
 5   complained of occurred within this judicial district.
 6
                                    FIRST CAUSE OF ACTION
 7
                                 FOR MEDICAL MALPRACTICE
 8
 9         3.     Prior to the commencement of this action, Plaintiffs Terrance J. Yeomans
10
     and Cindy Yeomans presented Administrative Tort Claims for Damage, Injury or Death
11
     (Standard Form 95) to the United States of America, Department of Veterans Affairs,
12
13   Office of General Counsel, 810 Vermont Ave., Washington, D.C., 20420.
14
           4.     More than six months have elapsed since the filing of the aforesaid claims,
15
     and the claims have not been administratively resolved by the Department of Veterans
16
17   Affairs.
18
           5.     Plaintiffs Terrance J. Yeomans and Cindy Yeomans are citizens and
19
     residents of the State of California, County of San Diego, within this Judicial District.
20
21         6.     Upon information and belief, defendant United States of America, at all
22
     times mentioned herein, owned, operated, maintained, staffed and controlled a medical
23
     facility known as the Veterans Affairs Medical Center, San Diego (hereinafter “VAMC-
24
25   SD”), within this judicial district.
26
           7.     Upon information and belief, the physicians, surgeons, nurses, attendants,
27
     anesthesiologists, nurse anesthetists, assistants, consultants, staff members, and other
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                                                   2
                                                                                          [Case No.]
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 1   medical care providers at the VAMC-SD were the ostensible agents, actual agents and
 2
     employees of the Defendant United States of America, and in doing the things hereinafter
 3
     mentioned, were acting within the scope of their authority as such agents and employees
 4
 5   with the consent of Defendant UNITED STATES OF AMERICA.
 6
           8.      That Plaintiff Terrance J. Yeomans came under the care of VAMC-SD and
 7
     the afore-mentioned physicians, surgeons, nurses, attendants, assistants, consultants and
 8
 9   other health care providers at the VAMC-SD, for the purpose of receiving medical care
10
     and treatment for various medical conditions, including those of a urologic nature. The
11
     Defendant, through its agents and employees, undertook and agreed to care for and treat
12
13   the Plaintiff, thereby creating a duty of care to Plaintiff Terrance J. Yeomans. Among the
14
     conditions for which Plaintiff presented himself to the VAMC-SD were complaints
15
     relating to urination.
16
17         9.     On or about March 22, 2017, Plaintiff Terrance J. Yeomans verbally
18
     expressed complaints to his health care providers at VAMC-SD that he was urinating
19
     frequently, including having to urinate during the night, and he specifically requested to
20
21   be seen by a Urologist. Frequent urination is a sign that is consistent with an enlarged
22
     prostate and with prostate cancer.
23
           10.    Plaintiff’s March 22, 2017, request to be seen by a Urologist was denied by
24
25   the health care providers at VAMC-SD.
26
           11.    After March 22, 2017, through the Spring of 2018, Plaintiff continued to be
27
     seen by health care providers at VAMC-SD and continued to complain about issues
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                                                  3
                                                                                         [Case No.]
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 1   relating to urination. He was never seen, however, by a Urologist at the VAMC-SD nor
 2
     was a consultation with a Urologist requested by any health care provider at VAMC-SD.
 3
           12.    In fact, after the Defendant failed to refer plaintiff to a VA Urologist,
 4
 5   Plaintiff was ultimately forced to seek out the services of a private physician in order to
 6
     receive the correct diagnosis and treatment for his prostate cancer. However, by that
 7
     time, in July, 2018, his prostate cancer had spread and he had extensive metastasis, thus
 8
 9   precluding care for his condition.
10
           13.    That in the aforementioned treatment of Plaintiff Terrance J. Yeomans, and
11
     specifically with respect to the careless manner in which the Defendant, its ostensible
12
13   agents, actual agents, and employees, treated his complaints with regard to urination, and
14
     failed to refer Plaintiff to a Urologist, the Defendant negligently failed to possess and
15
     failed to exercise that degree of knowledge and skill ordinarily possessed and exercised
16
17   by other hospitals, physicians, nurses, attendants, assistants, consultants and contractors
18
     in the same or similar locality.
19
           14.    Defendant, its ostensible agents, servants, physicians, staff members,
20
21   employees and/or independent contractors were careless and negligent in care and
22
     treatment of Plaintiff, Terrance J. Yeomans, in that they failed to properly treat him in
23
     accordance with ordinary and customary medical standards; failed to act reasonably in
24
25   their care and treatment of the Plaintiff; failed to properly examine Plaintiff; failed to
26
     properly recognize the significance of the signs, symptoms and complaints with which he
27
     presented; failed to timely and properly diagnose an enlarged prostate; failed to timely
28

                                                    4
                                                                                              [Case No.]
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 1   and properly diagnose and treat prostate cancer; delayed the timely diagnosis of
 2
     Plaintiff’s prostate cancer; delayed the onset of treatment for Plaintiff’s prostate cancer;
 3
     caused Plaintiff’s cancer to remain undiagnosed for a significant length of time, causing
 4
 5   the cancer to grow and to spread, thereby impacting the available treatment options for
 6
     Plaintiff and significantly negatively affecting his prognosis; deprived Plaintiff of the
 7
     possibility that his cancer could be effectively treated and/or cured; caused Plaintiff’s
 8
 9   cancer to spread and metastasize; reduced Plaintiff’s life expectancy; and negatively
10
     affected Plaintiff’s quality of life; and otherwise departed from accepted standards of
11
     medical care in the treatment given to the Plaintiff, Terrance J. Yeomans.
12
13         15.    As a proximate result of the aforesaid negligence and medical malpractice,
14
     Plaintiff Terrance J. Yeoman’s prostate cancer grew, progressed, spread and metastasized
15
     to his bones and lymph nodes; Plaintiff has experienced and will continue to experience
16
17   pain and suffering and suffered loss of enjoyment of life as a result of his injuries;
18
     Plaintiff’s life expectancy has been reduced; and Plaintiff lost the chance of having his
19
     cancer successfully treated or cured.
20
21         16.    That by reason of the foregoing, Plaintiff Terrance J. Yeomans has been
22
     damaged in a sum not to exceed $10,000,000.00.
23
     ///
24
25   ///
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     ///
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     ///
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                                                   5
                                                                                              [Case No.]
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 1                               SECOND CAUSE OF ACTION
 2
                    FOR FAILURE TO OBTAIN INFORMED CONSENT
 3
 4
 5         17. Plaintiffs repeat the prior paragraphs of this Complaint as if fully set forth
 6
     herein.
 7
           18. The Defendants, their agents, servants and/or employees, failed to inform
 8
 9   Plaintiff Terrence J. Yeomans of the risks, benefits and alternatives related to the care and
10
     treatment they provided to her so that an informed consent could be provided.
11
           19.    A reasonably prudent person in Plaintiff’s position would not have
12
13   undergone the care and treatment provided by the Defendant, its agents, servants and/or
14
     employees if they had been fully informed of the risks, benefits and alternatives related to
15
     the care and treatment provided by Defendant.
16
17         20.    That as a consequence of the foregoing, there was no informed consent to
18
     the care and treatment provided by Defendant to the Plaintiff.
19
           21.    The failure to adequately and fully inform Plaintiff of the risks, benefits and
20
21   alternatives related to the care and treatment provided by Defendant was a proximate
22
     cause of the injuries Plaintiff Terrence J. Yeomans sustained.
23
           22.    As a proximate result of the aforesaid failure to obtain proper informed
24
25   consent, Plaintiff Terrance J. Yeoman’s prostate cancer grew, progressed, spread and
26
     metastasized to his bones and lymph nodes; Plaintiff has experienced and will continue to
27
     experience pain and suffering and suffered loss of enjoyment of life as a result of his
28

                                                   6
                                                                                          [Case No.]
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 1   injuries; Plaintiff’s life expectancy has been reduced; and Plaintiff lost the chance of
 2
     having his cancer successfully treated or cured.
 3
           23.    That by reason of the foregoing, Plaintiff Terrance J. Yeomans has been
 4
 5   damaged in a sum not to exceed $10,000,000.00.
 6
                                   THIRD CAUSE OF ACTION
 7
                       ON BEHALF OF PLAINTIFF CINDY YEOMANS
 8
 9         24.    Plaintiffs repeat the prior paragraphs of this Complaint as if fully set forth
10
     herein.
11
           25.    That at all times hereinafter mentioned, Plaintiff Cindy Yeomans was and
12
13   still is the lawful wife of Plaintiff Terrance J. Yeomans and as such cohabited together
14
     with him and she was entitled to the services, society, enjoyment, companionship,
15
     comfort, support and consortium of her spouse.
16
17         26.    That solely by reason of the negligence, carelessness and malpractice of the
18
     Defendants, Plaintiff Cindy Yeomans has been deprived of the services, society,
19
     enjoyment, companionship, comfort, support and consortium of her husband and such
20
21   loss is continuing into the future, and she has been compelled to incur hospital and
22
     medical expenses on her husband’s behalf and such expenses are continuing into the
23
     future, all to her damage.
24
25         27.    By reason of the foregoing, Plaintiff Cindy Yeomans has been damaged in a
26
     sum not to exceed $1,000,000.00.
27
28

                                                   7
                                                                                           [Case No.]
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 1         WHEREFORE, Plaintiffs demand judgment against Defendant, United States of
 2
     America in the amount of $10,000,000.00 on the First Cause of Action, $10,000,000.00
 3
     on the Second Cause of Action, and $1,000,000.00 on the Third Cause of Action,
 4
 5   together with the interest, costs and disbursements of this action; and an award of such
 6
     other and further relief as this Court may deem just and proper.
 7
     Dated: March 5, 2021
 8
 9                                   LAW OFFICE OF JEANNE ANNE STEFFIN
                                     Attorney for Plaintiffs
10
11                                      s/ Jeanne Anne Steffin_______
                                     By: Jeanne Anne Steffin, Esq.
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                                                  8
                                                                                        [Case No.]
